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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    CHRISTINE CAPORALETTI,

                           Plaintiff,
                                                                   CIVIL ACTION
          v.                                                       NO. 21-3293

    BOROUGH OF POTTSTOWN, et al.,

                           Defendants.


                                              ORDER

        AND NOW, this 17th day of May 2022, upon consideration of Defendants Pottstown

Hospital and Tower Health’s Motion to Dismiss (Doc. No. 15), Plaintiff’s Response in Opposition

(Doc. No. 16), Defendants Pottstown Hospital and Tower Health’s Reply (Doc. No. 17), it is

ORDERED that Defendants Motion to Dismiss (Doc. No. 15) is DENIED.1


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     Background

     The following series of events is alleged in the Amended Complaint filed by Plaintiff Christine
     Caporaletti (“Plaintiff”). (Doc. No. 12.) On July 25, 2019, Michael Graeff (“Mr. Graeff”) had
     a mental health crisis. (Doc. No. 12 ¶ 24.) Although Mr. Graeff is not Plaintiff’s biological
     son, he lived with Plaintiff and she “considered him to be her son and refers to him as her son.”
     (Id.) Because she was concerned about Mr. Graeff’s well-being, Plaintiff called 911 so that he
     could receive a mental health evaluation. (Id. ¶ 28.) Shortly thereafter, a police officer and
     several paramedics arrived at Plaintiff’s home to transport Mr. Graeff to Pottstown Hospital
     for an examination. (Id. ¶ 30.) While Mr. Graeff rode in the ambulance, Plaintiff and her
     daughter followed the ambulance to the hospital. (Id. ¶ 31.)

     When Plaintiff arrived at Pottstown Hospital, she spoke to an employee at the front desk,
     Defendant Jane Doe (“Ms. Doe”). (Id. ¶ 33.) Ms. Doe is alleged to be an employee of
     Defendants Pottstown Hospital and/or Tower Health. (Id. ¶ 22–23.) After Plaintiff asked to
     see her son and asked for “information pertaining to his well-being,” Ms. Doe told Plaintiff
     that Mr. Graeff had not yet checked in to the hospital. (Id. ¶¶ 33–34.) In response, Plaintiff
     “stressed the importance of seeing her son as soon as possible.” (Id. ¶ 35.) Thereafter Ms.
     Doe called over Defendant Dylan Heckart (“Mr. Heckart”). (Id.) Mr. Heckart is alleged to be
     an employee or agent of Defendants, Pottstown Hospital and Tower Health, and/or Defendants
     ABC Security Company and Dothan Security Inc., d/b/a DSI Security Services. (Id. ¶ 18.)
     Defendant Heckart then informed Plaintiff that Mr. Graeff did not want to see her. (Id. ¶ 37.)
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However, Plaintiff “knew [the statement of Mr. Heckart] was a lie,” because at the time
Defendant Heckart informed her of this declination, she saw Mr. Graeff on emergency room
monitors just arriving and being wheeled into the hospital. (Id. ¶ 37.) When Plaintiff
confronted Defendant Heckart by saying, “look me in the eyes and say that,” he then asked her
to leave the hospital. (Id. ¶ 39.) Plaintiff said that she would not leave until she saw Mr. Graeff.
(Id. ¶ 46.)

After briefly having a cigarette outside the hospital, Plaintiff went inside. (Id. ¶ 48.) There,
she was confronted by Defendant Heckart, who “falsely accused her of misconduct, asserting
that she banged on the doors in the back of the emergency room and pushed through doctors.”
(Id. ¶ 49.) Plaintiff denied doing so and, because there were security cameras around the
hospital, asked Defendant Heckart if he could show her the footage of the misconduct. (Id. ¶
50.) In response, Defendant Heckart refused, and either or both Defendant Jane Doe and
Defendant Heckart called the police and “falsely claimed that [] Plaintiff was banging on
emergency room doors and was pushing through the doctors.” (Id. ¶ 54.) Ultimately, three
Pottstown Police Officers, Defendants Officers Peter Yambrick (“Officer Yambrick”),
Matthew Maciejewski (“Officer Maciejewski”), and Officer John Doe arrived at the hospital
and arrested Plaintiff for Disorderly Conduct. (Id. ¶¶ 67, 76.) During the arrest, Plaintiff asked
the Defendant Officers not to pull on her arm, as she had undergone arm surgery three months
prior. (Id. ¶ 68.) Nevertheless, the Officers did not follow this request and caused a tear in her
arm by the alleged use of excessive force when putting her into handcuffs. (Id. ¶ 70–71.)

On October 15, 2021, Plaintiff filed an Amended Complaint. (Doc. No. 12.) The Amended
Complaint asserts claims against Defendants Borough of Pottstown, Chief of Police Michael
Markovich, Officer Yambrick, Officer Maciejewski, Officers John Does 1–99, Pottstown
Hospital, Tower Health, ABC Security Company, Dothan Security Inc., d/b/a DSI Security
Services, Mr. Heckart, and Ms. Doe. (See Doc. No. 12.) Only Count 11, alleging negligence,
and Count 12, alleging vicarious liability, involve Defendants Pottstown Hospital and Tower
Health (“Moving Defendants”). (See id. at 27–28.) Moving Defendants have filed the Motion
to Dismiss now under consideration. (See Doc. No. 15.)

On October 29, 2021, Moving Defendants filed the Motion to Dismiss Counts 11 and 12, and
Plaintiff’s claim for Punitive Damages. (Doc. No. 15.) On November 10, 2021, Plaintiff filed
a Response in Opposition. (Doc. No. 16.) On November 17, 2021, Moving Defendants filed
a Reply. (Doc. No. 17.) On January 27, 2022, the Court held a hearing on the Motion with
counsel for Plaintiff and Moving Defendants. The Motion to Dismiss is now fully briefed and
ripe for disposition.

Standard of Review

The motion to dismiss standard under Federal Rule of Civil Procedure 12(b)(6) for failure to
state a claim is set forth in Ashcroft v. Iqbal, 556 U.S. 662 (2009). After Iqbal it is clear that
“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory
statements, do not suffice” to defeat a Rule 12(b)(6) motion to dismiss. Id. at 678; see also
Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007). “To survive dismissal, ‘a complaint must
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contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on
its face.’” Tatis v. Allied Interstate, LLC, 882 F.3d 422, 426 (3d Cir. 2018) (quoting Iqbal, 556
U.S. at 678). Facial plausibility is “more than a sheer possibility that a defendant has acted
unlawfully.” Id. (quoting Iqbal, 556 U.S. at 678). Instead, “[a] claim has facial plausibility
when the plaintiff pleads factual content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged.” Id. (quoting Iqbal, 556 U.S. at 678).
Applying the principles of Iqbal and Twombly, the Third Circuit in Santiago v. Warminster
Township, 629 F.3d 121 (3d Cir. 2010) set forth a three-part analysis that a district court in this
Circuit must conduct in evaluating whether allegations in a complaint survive a Rule 12(b)(6)
motion to dismiss:

       First, the court must “tak[e] note of the elements a plaintiff must plead to state
       a claim.” Second, the court should identify allegations that, “because they are
       no more than conclusions, are not entitled to the assumption of truth.” Finally,
       “where there are well-pleaded factual allegations, a court should assume their
       veracity and then determine whether they plausibly give rise to an entitlement
       for relief.”

Id. at 130 (quoting Iqbal, 556 U.S. at 675, 679). The inquiry is normally broken into three
parts: “(1) identifying the elements of the claim, (2) reviewing the complaint to strike
conclusory allegations, and then (3) looking at the well-pleaded components of the complaint
and evaluating whether all of the elements identified in part one of the inquiry are sufficiently
alleged.” Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011).

A complaint must do more than allege a plaintiff’s entitlement to relief, it must “show” such
an entitlement with its facts. Fowler v. UPMC Shadyside, 578 F.3d 203, 210–11 (3d Cir. 2009)
(citing Phillips v. Cnty. of Allegheny, 515 F.3d 224, 234-35 (3d Cir. 2008)). “[W]here the well-
pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the
complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Iqbal,
556 U.S. at 679 (second alteration in original) (citation omitted). The “plausibility”
determination is a “context-specific task that requires the reviewing court to draw on its judicial
experience and common sense.” Id.

Defendants Pottstown Hospital and Tower Health’s Motion to Dismiss will be denied.

In the Motion to Dismiss, Moving Defendants seek to dismiss Counts 11 and 12 for failure to
state a claim. (Doc. No. 15-1 at 5.) Also, Moving Defendants ask the Court to dismiss
Plaintiff’s claim for punitive damages. (Id. at 8–9.) For reasons set forth below, Moving
Defendants’ Motion to Dismiss (Doc. No. 15) will be denied.

Claims for Negligence and Vicarious Liability

First, Moving Defendants seek to Dismiss Counts 11 and 12 for failure to state a claim. Count
11 alleges negligence and Count 12 alleges vicarious liability against Moving Defendants.
(See Doc. No. 12 at 27–28.) In the Motion to Dismiss, Moving Defendants argue that Counts
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11 and 12 should be dismissed for a single reason: lack of proximate cause. (See Doc. No. 15-
1.)

Moving Defendants argue that Counts 11 and 12 should be dismissed because proximate
causation has not been established between the actions of employees of Pottstown Hospital
and Tower Health, such as calling 911 for the police to respond based on Plaintiff’s conduct at
the hospital, and the injuries sustained by Plaintiff during the arrest, the injured arm and more
caused by the alleged excessive force of Defendant Officers of the Pottstown Police
Department. (Doc. No. 15-1 at 8.) In her Response, Plaintiff indicates that Moving Defendants
were a substantial factor in bringing about her injuries by “[lying] to the police about the
Plaintiff’s conduct.” (Doc. No. 16 at 10.) Because of their conduct, Plaintiff asserts that it was
foreseeable that Plaintiff would be injured by the police. (Id. at 11.) Also, Plaintiff notes that
whether an event is foreseeable for purposes of Counts 11 and 12 is a question for the jury to
decide. (Id.) Thus, Plaintiff maintains that proximate causation is well-pled in the Amended
Complaint. (See id.)

To state a claim of negligence, a plaintiff must assert the following elements: (1) a duty to
conform to a certain standard for the protection of others against unreasonable risks; (2) the
defendant’s failure to conform to that standard, or a breach of its duty; (3) a causal connection
between the conduct and the resulting injury; and (4) actual loss or damage to the plaintiff.
Jones v. Plumer, 226 A.3d 1037, 1039 (Pa. Super. 2020) (quoting Brewington for Brewington
v. City of Philadelphia, 199 A.3d 348, 355 (Pa. 2018)). “To prove negligence, a plaintiff may
proceed against a defendant on theories of direct and vicarious liability, asserted either
concomitantly or alternately.” Scampone v. Highland Park Care Ctr., LLC, 57 A.3d 582, 597
(Pa. 2012).

To show vicarious liability, “[i]f a particular agent is not a servant, the principal is not
considered a master who may be held vicariously liable.” Valles v. Alert Einstein Med. Ctr.,
758 A.2d 1238, 1244 (Pa. Super. Ct. 2000). “As a general rule, a master may be held liable for
the acts of the servant when those acts are committed during the course of his employment and
within the scope of his authority.” I.H. ex rel. Litz v. County of Lehigh, 610 F.3d 797, 802 (3d
Cir. 2010) (quotation and citation omitted).

In the Amended Complaint, Count 11 alleges negligence under Pennsylvania law against
Pottstown Hospital and Tower Health for, inter alia, their failure to test and train employees
and security guards and their failure to properly supervise their employees and security guards.
(Doc. No. 12 ¶ 156.) By contrast, Count 12 alleges vicarious liability by Moving Defendants
for, inter alia, the individual, negligent actions of Defendants’ employees, agents, and security
guards. (Id. ¶ 158.) Although both are claims of negligence, they may be brought as separate
causes of action under Pennsylvania law. See Simmons v. Simpson House, Inc., 224 F. Supp.
3d 406, 413 (E.D. Pa. 2016).

For their request to dismiss Counts 11 and 12, Moving Defendants only argue that the third
element of negligence, causation, is not met. (Doc. No. 15-1 at 5–8.) To demonstrate
causation, a plaintiff must show both but-for and proximate causation. Reott v. Asia Trend,
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Inc., 55 A.3d 1088, 1103 (Pa. 2012). The two types of causation are characterized under
Pennsylvania law as follows:

   Cause in fact or ‘but for’ causation provides that if the harmful result would not
   have come about but for the negligent conduct then there is a direct causal
   connection between the negligence and the injury. Legal or proximate causation
   involves a determination that the nexus between the wrongful acts (or omissions)
   and the injury sustained is of such a nature that it is socially and economically
   desirable to hold the wrongdoer liable.

E.J. Stewart, Inc. v. Aitken Products, Inc., 607 F. Supp. 883, 889 (E.D.Pa.1985) (citations
omitted).

To prove proximate causation, a plaintiff must show that the defendant’s breach was a
substantial factor in bringing about the plaintiff's harm. See Powell v. Drumheller, 653 A.2d
619, 622 (Pa. 1995). Proximate causation “may rest on circumstantial evidence of such
proximate causation.” Turturro v. United States, 629 Fed. App’x (3d Cir. 2015) (citing Harvilla
v. Delcamp, 555 A.2d 763, 764 (Pa. 1989)).

Although a causal chain of events may be severed by an intervening or superseding act, thus
precluding proximate causation, “the test is whether the intervening conduct was so
extraordinary as not to have been reasonably foreseeable.” Simmons, 224 F. Supp. 3d at 419
(internal quotation marks and citations omitted). In any event, “[b]ecause the issue of
proximate cause is inherently fact-based, causation is generally a question of fact for the jury.”
Id. at 415 (citations omitted). The issue will only be removed from the trier of fact “where it
is clear that reasonable minds could not differ on the issue.” Id. (quoting Summers v.
Certainteed Corp., 997 A.2d 1152, 1163 (Pa. 2010)

Here, Moving Defendants do not dispute but-for causation, but instead contend that Plaintiff
cannot show proximate causation. Put differently, Moving Defendants do not challenge the
theory that, but for Mr. Heckart and Ms. Doe calling the police, Plaintiff would not have been
arrested and injured. Rather, Moving Defendants refute the idea that “Specifically, Moving
Defendants propose that the causal chain was severed between the alleged negligent acts of
Moving Defendants’ agents and Plaintiffs’ injuries by the actions of the police officers, because
the officers’ “alleged use of unprovoked excessive force is so extraordinary that it could not
have been foreseeable” by either Ms. Doe or Mr. Heckart when they called the police. (Doc.
No. 15-1.)

At this stage, however, Plaintiff has pled facts to support proximate causation, and her claims
of negligence and vicarious liability in Counts 11 and 12 against Moving Defendants will
survive the Motion to Dismiss for this reason. The Amended Complaint alleges that the agents
of Moving Defendant, either or both Mr. Heckart and Ms. Doe, contacted the police and lied
to them about Plaintiff’s conduct. (Doc. No. 12 ¶ 53.) Moreover, the alleged lie to the police
was that Plaintiff was acting in a disorderly manner, by “banging on the emergency room doors
and [] pushing through doctors.” (Id.) As noted by Plaintiff, a jury may find that “it is
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foreseeable that by lying to the police and causing them to come to the Hospital,” Plaintiff
would be arrested and possibly injured as the police were carrying out the arrest. (Doc. No. 16
at 10.) Likewise, a jury could find that the recalcitrant behavior complained of is the type of
behavior for which it is foreseeable that excessive force would be used.

Although the Court agrees with Moving Defendants that many arrests are executed without the
use of force (see Doc. No. 17 at 4), “an arrest or investigatory stop necessarily carries with it
the right to use some degree of physical coercion or threat to effect it.” Graham v. Connor,
490 U.S. 386, 396 (1989). Thus, there are sufficient facts from which reasonable minds can
differ as to whether Plaintiff’s injuries were foreseeable to Mr. Heckart and Ms. Doe. While a
jury may find that the police officers’ alleged use of force “was so extraordinary” that it broke
the causal chain to preclude proximate cause, such a finding by the Court at the pleadings stage
would be inappropriate. Therefore, the Court will deny Moving Defendants’ Motion to
Dismiss Counts 11 and 12.

Punitive Damages

Second, Moving Defendants seek to dismiss Plaintiff’s request for punitive damages. At the
end of the Amended Complaint, the “wherefore clause” requests punitive damages as to all
Defendants. (Doc. No. 12 ¶ 179.) Hence, Moving Defendants argue that Plaintiff’s request
for punitive damages from them should be dismissed because Plaintiff did not allege facts to
show willful, wanton, or reckless conduct. (Doc. No. 15-1 at 8.) To counter this argument,
Plaintiff proffers that, by alleging that Mr. Heckart and/or Ms. Doe intentionally lied to the
police about Plaintiff’s conduct, the alleged behavior of Moving Defendants’ agents is
sufficient to meet the standard for punitive damages at this stage. (Doc. No. 16 at 12.)

Punitive damages are appropriate “only in cases where the defendant’s actions are so
outrageous as to demonstrate willful, wanton or reckless conduct.” Hutchison ex rel.
Hutchison v. Luddy, 870 A.2d 766, 770 (Pa. 2005). “[I]n Pennsylvania, a punitive damages
claim must be supported by evidence sufficient to establish that (1) a defendant had a subjective
appreciation of the risk of harm to which the plaintiff was exposed and that (2) he acted, or
failed to act, as the case may be, in conscious disregard of that risk.” Id. at 772. For punitive
damages, “[t]he state of mind of the actor is vital.” Id. at 770–71.

Here, viewing the allegations in the Amended Complaint in the light most favorable to
Plaintiff, the Amended Complaint alleges that Moving Defendants’ agents intentionally lied
when they called the police to come to Pottstown Hospital and described Plaintiff engaging in
disruptive conduct, and that Plaintiff was arrested and injured as a result. (Doc. No. 12 ¶¶ 48–
54.) These allegations, if proven, may support a claim for punitive damages. Although
discovery may nevertheless reveal that punitive damages are not appropriate, dismissal of the
punitive damages claim at the pleadings stage would be premature. See King v. Hyundai Motor
Mfg. Am., No. 18-450, 2019 WL 458477, at *3 (M.D. Pa. Jan. 3, 2019), report and
recommendation adopted, No. 18-450, 2019 WL 450217 (M.D. Pa. Feb. 5, 2019).


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                                               BY THE COURT:



                                               _ / s/ Joel H. S l om sk y
                                               JOEL H. SLOMSKY, J.




Therefore, the Court will also deny Moving Defendants’ Motion to Dismiss Plaintiff’s request
for punitive damages.


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